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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 22-8506-WM

  UNITED STATES OF AMERICA,

                                     Plaintiff,
  vs .

  DOYLE CLEARE,
  a/k/a "Rickie Williams,"

                                     Defendant.
  - - - - - - - - - - - - - - - - - -I
                                 CRIMINAL COVER SHEET

  1.     Did this matter originate from a matter pending in the Miami Office of the United
  States Attorney's Office prior to July 20 , 2008?

         Yes           X No

  2.     Did th is matter originate from a matter pending in the Northern Region of the United
  States Attorney's Office (West Palm Beach Office) only prior to December 18, 2011?

         Yes           X No

  3.     Did this matter originate from a matter pending in the Fort Pierce Office of the
  United States Attorney's Office prior to August 8, 2014?

          Yes          X No
                                            Respectfully submitted ,

                                            JUAN ANTONIO GONZALEZ
                                            UNITED STATES ATTORNEY


                                     BY:
                                            JO NC. McMIL
                                               SISTANT UNITED
                                            Admin. No. A5500228
                                            500 S. Australian Ave ., Suite 400
                                            West Palm Beach , FL 33401
                                            Office : (561) 820-8711
                                            John .mcmillan@usdoj .gov
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AO 91 (Rev. 08/09) Criminal Complaint
                                                                                                                                       .c.
                                     UNITED STATES DISTRICT Co                                 T         NOV O2 2022
                                                               for the
                                                                                                         ANGELA E. NOBLE
                                                   Southern District of Florida                         CLERK U.S. DIST. CT.
                                                                                                        S.D. OF FLA. - W.P.8.

                  United States of America                        )
                                V.                                )
                      DOYLE CLEARE,                               )      Case No. 22-8506-WM
                   a/k/a "Rickie Williams ,"                      )
                                                                  )
                                                                  )
                           Defendanr(s)


                                                    CRIMINAL COMPLAINT

         I, the comp lainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ _ _
                               10~/~25
                                     _/~2_02_2_ - _10_/_3~
                                                         0/_2_02
                                                               _2~ - - in the county of _ _ __
                                                                                             P_al_m_ B_
                                                                                                      ea_c_h_ _ _ in the

     Southern          District of Florida, and elsewhere , the defendant(s) violated :

            Code Section                                                   Offense Description
8 U.S.C. §§ 1324(a)(1)(A)(iv), 1324            Encouraging or induci ng an alien to come to or enter the United States,
(B)(iii);                                      knowing or in reckless disregard that such was in violation of the law;
8 U.S.C . §§ 1326(a), 1326(b)(2); and          Attempted Re-entry After Deportation (Aggravated Felon); and
8 U.S.C. §§ 1327                               Aiding or Assisting Aggravated Felon to Re-enter the United States




         This criminal complaint is based on these facts:
See attached Affidavit




         gf Continued on the attached sheet.
                                                                         JOSHUA J                     Digitally signed by JOSHUA J
                                                                                                      WOODBURY
                                                                         WOODBURY                     Date: 2022. 11 .02 09:04:11 -04'00 '

                                                                                          Complainant 's signature

                                                                                  Joshua Woodbury, Special Agent, HSI
                                                                                                                    Printed name and title


    Subscribed and sworn to before me in accordance with the requlff~;ent, ~fFed . R.          Cit r-1       by teleRhone (Facetlme).


Date:             11/02/2022
                                                                                                 1
                                                                         l-1~~~~--=-1~.a~;&;J-b~=========---
                                                                                           ~     ~       ature

City and state:                 West Palm Beach, Florida                   Hon. William Matthewman , U.S. Magistrate Judge
                                                                                           Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                               Case No. 22-8506-WM
                               Case No. 22-8507-WM

         I, Joshua Woodbury, first being duly sworn, does hereby depose and state as follows:

         1.     I am a Special Agent with the United States Department of Homeland Security,

  Homeland Security Investigations ("HSI") and have been so employed since June 2008. Prior

  to my employment with HSI, I worked as a United States Customs Inspector for six and a half

  years. As part of my duties and responsibilities as an HSI Special Agent, I have become

  familiar with the criminal offenses set forth in Title 8 of the United States Code, the

  Immigration and Nationality Act. Moreover, I have conducted investigations involving human

  smuggling and their related criminal activity and have become familiar with the methods and

  schemes employed by individuals who smuggle persons into the United States.

         2.     The facts set forth in this affidavit are based on my personal knowledge,

  information obtained from others, including other law enforcement officers, my review of

  documents, pictures, GPS data, text messages and computer records. Because this affidavit is

  being submitted for the limited purpose of establishing probable cause to support a criminal

  Complaint, I have not included each and every fact known to me and law enforcement, rather,

  I have included only those facts necessary to establish probable cause to believe that between

  on or about October 25, 2022, and on or about October 30, 2022:

         (a)    Defendant Doyle CLEARE: (i) Encouraged or induced an alien to come to,

  enter, or reside in the United States, knowing or in reckless disregard of the fact that such

  coming to, entry, or residence was or would be in violation of in violation of Title 8, United

  States Code, Section 1324(a)(l)(A)(iv); (ii) Attempted to re-enter the United States himself

  after a previous removal, whose removal was subsequent to a commission of an aggravated
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  felony in violation of Title 8, United States Code, Section 1326(b)(2); and (iii) knowingly

  aided or assisted an inadmissible alien who had been previously convicted of an aggravated

  felony to enter the United States, or who connives or conspires to procure or permit such alien

  to enterthe United Sates, in violation of Title 8, United States Code, Section 1327; and

         (b)    Defendant Howard WRIGHT did knowingly attempt to re-enter the United

  States after being previously removed subsequent to his conviction for an aggravated felony,

  in violation of Title 8, United States Code, Section 1326(b)(2).

                                      PROBABLE CAUSE

         3.     On October 30, 2022, United States Coast Guard (USCG) Sector Miami

  received a report from USCG Cutter Resolute of a vessel taking on water approximately 10

  nautical miles east of Lake Worth Inlet, which your affiant knows to be within the special

  maritime and territorial jurisdiction of the United States, adjacent to Palm Beach County,

  within the Southern District of Florida. USCG Resolute reported approximately 8 persons on

  board and launched a small vessel to retrieve the persons. The vessel, a 22-foot white Mako

  center console was taking on water and in immediate danger of sinking, and all 8 passengers

  were successfully embarked onto the USCG small craft from the sinking Mako. Shortly

  thereafter, the floundering vessel sank in open water. USCG Cutter Resolute reported one (1)

  Bahamian male (CLEARE), oi:ie (1) Jamaican male (WRIGHT), three (3) Cuban females, one

  (1) Cuban male, one (1) adult Chinese female, and one (1) accompanied minor Chinese child.

  After completing biometrics all 8 foreign nationals were transferred to USCG Margaret

  Norvell.

         4.     After completion of the biometrics two individuals Doyle CLEARE (a/k/a,

  "Rickie WILLIAMS ") a citizen and national of the Bahamas, and Howard WRIGHT a citizen

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  and national of Jamaica, came back with positive matches in the IDENT/APIS system for

  criminal histories in the United States, and both persons having been previously removed from

  the United States.

         5.     Review of the Florida Consolidated Case Information System (CCIS) and U.S.

  Immigration records, established that on or about December 22, 1989, in state court in Broward

  County, Florida, defendant CLEARE was adjudicated guilty for Robbery 1/ Deadly weapon,

  shooting into an occupied dwelling and false imprisonment, and was sentenced to 6 years for

  those crimes. CLEARE served approximately 4 years in the Florida Department of Corrections

  (DOC) and was released in 1993. On or about June 15, 1993, CLEARE was deported from the

  United States for a moral turpitude conviction. Thereafter, on or about August 11, 2000, in

  Broward County, Florida, CLEARE was adjudicated guilty for possession/purchase/selling

  cannabis and violation of probation. CLEARE was sentenced to three years in county jail and

  served approximately 3 years. On or about August 27, 2003, CLEARE was again removed

  from the United States to his native country of The Bahamas.

         6.     On or about April 4, 2000, in Escambia County, Florida, defendant WRIGHT

  was adjudicated guilty for conspiracy to traffic Cannabis with a weight of 0-50 pounds.

  WRIGHT was sentenced to serve 21 months incarceration. On or about January 22, 2004,

  WRIGHT was removed from the United States to his native country of Jamaica. On or about

  January 12, 2009, United States Border Patrol Officers stopped to render aid after coming upon

  a three car accident in Miami Dade County. WRIGHT gave Border Patrol Officers a fake name

  and claimed Haiti as his citizenship. WRIGHT was taken into custody by Border Patrol

  Officers and charged with illegal re-entry. On or about June 18, 2009, WRIGHT was sentenced



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  to 41 months confinement in the federal penitentiary and was removed on or about September

  12, 2012.

         7.      Your affiant notes that based on his review of U.S. Immigration records, both

  defendants were previously removed (deported) from the United States as Aggravated Felons.

         8.     Following their apprehension by the United States Coast Guard, defendants

  CLEARE and WRIGHT were first landed at the United States Coast Guard Station in Riviera

  Beach, Palm Beach County, Southern District of Florida, and then taken to the United States

  Border Patrol Station, also located in Riviera Beach, to be interviewed.

         9.     On November 1, 2022, Homeland Security Special Agents (HSI) conducted a

  post-Miranda audio and video recorded interview of defendant CLEARE. CLEARE admitted

  to departing Bimini, Bahamas on Tuesday, October 25, 2022, heading to Andros, Bahamas.

  CLEARE stated that he drove the boat the entire time until the vessel broke down. CLEARE

  stated they were underway for 4 hours before the boat stopped. CLEARE claimed that he never

  intended to come to the United States. CLEARE gave written and verbal consent for agents to

  examine his cellular device. Upon examining CLEARE's cellular telephone, however, your

  affiant noted that on October 25 , 2022, the date CLEARE stated the vessel departed Bimini,

  CLEARE took a screenshot of his location at approximately 11 :24 a.m., which according to

  the image ' s data, showed his location to be off the coast of Florida just north of Miami, and

  well outside the coastal waters of The Bahamas. On October 25, 2022, at approximately 4:30

  pm CLEARE attempted to send a "Whats App" text with the message, "We broke down at

  sea" followed by a picture of himself and another migrant.

         10.    On November 1, 2022, HSI Special Agents conducted a post-Miranda audio

  and video recorded interview of defendant WRIGHT. WRIGITT stated that he was in Cuba
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  and travelled to Nassau, Bahamas, paying the smuggling organization approximately $10.000

  upon arrival. WRIGHT stated he then departed to Freeport, Bahamas and later to Bimini,

  Bahamas. WRIGHT claimed that he stayed in run down houses during the trip, and on Tuesday

  October 25, 2022, he was taken by boat to another vessel already loaded with WRIGHT and

  the other migrants waiting offshore of Bimini. WRIGHT said that they travelled approximately

  three hours or so before the vessel broke down. WRIGHT stated that, at one point the captain

  (CLEARE) was looking at a GPS and hit a wave losing the GPS overboard. WRIGHT told

  your affiant that his intention and understanding was upon boarding the Mako vessel was that

  it would transport him to the Miami area of the United States. WRIGHT stated that after they

  broke down, they drifted at sea in rough waters, and that the only food available for the child

  was seaweed they grabbed from the ocean since there was no food or water provisions on board

  the vessel. WRIGHT stated that when the Coast Guard arrived to rescue them, he and CLEARE

  were fighting because CLEARE was doing nothing to help them, and the vessel was sinking.

         11.    Checks on the United States Immigration CLAIMS database conducted at your

  affiant's request, found no record that either CLEARE or WRIGHT had sought or received

  authorization from the Secretary of Homeland Security or his/her predecessor, the Attorney

  General of the United States, to re-enter the United States. Nor were CLEARE, WRIGHT, or

  any of the other six foreign nationals on board the vessel CLEARE captained in possession of

  any documents which would have authorized them to enter the United States legally.

         12.    Based on the foregoing, I submit that probable cause exists to Defendant Doyle

  CLEARE with having: (i) Encouraged or induced an alien to come to, enter, or reside in the

  United States, knowing or in reckless disregard of the fact that such coming to, entry, or

  residence was or would be in violation of in violation of Title 8, United States Code, Section

                                                 5
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  1324(a)(l )(A)(iv); (ii) Attempted to re-enter the United States himself after a prev10us

  removal, whose removal was subsequent to a commission of an aggravated felony in violation

  of Title 8, United States Code, Section I 326(b )(2); and (iii) Knowingly aided or assisted an

  inadmissible alien who had been previously convicted of an aggravated felony to enter the

  United States, or who connives or conspires to procure or permit such alien to enter the United

  Sates, in violation of Title 8, United States Code, Section 1327.

         13.    On the basis of the foregoing, I further submit that probable cause exists to

  charge defendant Howard WRIGHT with having knowingly attempted to re-enter the United

  States after being previously removed subsequent to his conviction for an aggravated felony,

  in violation of Title 8, United States Code, Section 1326(b)(2).


                                             JOSHUAJ                  Digitally signed by JOSHUA J
                                                                      WOODBURY
                                             WOODBURY                 Dat e: 2022.11.02 09:04:45 -04'00'


                                              JOSHUA WOODBURY
                                              Special Agent
                                              Homeland Security Investigations



  SWORN AND ATTESTED TO ME BY
  APPLICANT VIA TELEPHONE (F ACETIME)
  PURSUANT TO FED. R. CRIM. P. 4(d) AND 4.1
  THIS 2nd DAY OF NOVEMBER, 2022.




        ILLIA          ATTHEWMAN
  UNITED STAT         MAGISTRATE JUDGE




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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                   PENALTY SHEET

  Defendant's Name: - --=
                        D--=O'-Y""'L=E=--:C=L=E=ARE:..=c
                                                    =•-=a/k/=-==-a=--"Ri=·c=k=ie::.._;_W:.....::i=ll~iam=s"--"- - -- -- -- - -

  Case No: - - ~22-8506-WM
                 ~ ~ ~ ~~ - -- -- - -- -- - -- - -- -- - -- - -
  Count#: 1
  Encouraging or Inducing an Alien to Come to or Enter the United States
  Title 8, United States Code, Section 1324(a)(l)(A)(iv), 1324(b)(iii)

  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): not applicable
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000
  * Special Assessment: $100.00
  Immigration consequences of removal (deportation) from the United States upon
  conviction

  Count#: 2
  Re-entry After Deportation (Aggravated Felon)
  Title 8, United States Code, Section 1326(a) and (b)(2)

  *Max.Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): not applicable
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000
  * Special Assessment: $100.00
  Immigration consequences of removal (deportation) from the United States upon
  conviction

  Count#: 3

  Aiding or Assisting Aggravated Felon to Re-enter the United States
  Title 8, United States Code, Section 1327

  * Max. Term oflmprisonment: 10 years
  * Mandatory Min. Term of Imprisonment (if applicable): not applicable
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000
  * Special Assessment: $100.00
  Immigration consequences of removal (deportation) from the United States upon
  conviction



    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                CASE NUMBER:          22-8506-WM

                                         BOND RECOMMENDATION



DEFENDANT:         DOYLE CLEARE, a/k/a " Rickie Williams"

                 Pre-Trial Detention
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




Last Known Address:
                        - - - - -- - - - - -



What Facility:




Agent(s):               H.S.I. Special Agent Joshua Woodbury
                        (FBI) (SECRET SERVICE) (DEA)             (IRS) (ICE) (OTHER)
